JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
Essentia Health

(b) County of Residence of First Listed Plaintiff

(EXCEPT IN US. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Maslion LLP, Rikke Dierssen-Morice, 3300 Wells Fargo

Ctr., 90 S. 7th St., Minneapolis, MN, (612) 672-8200

DEFENDANTS
ACE American Insurance Company

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

NOTE:

Attorneys (If Known)

 

 

II. BASIS OF JURISDICTION (Place an “X" in One Box Only}

 

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

 

 

 

 

 

 

 

    
 

 

 

 

 

[]1 U.S. Government [_]3 Federal Question PTF DEF PIF DEF
Plaintiff (US. Government Not a Party) Citizen of This State [11 [1 mcorporated or Principal Place [x] 4 [4
of Business In This State
| 2 U.S. Government [x]4 Diversity Citizen of Another State CL 2 | 2 Incorporated and Principal Place | 5 BX 5
Defendant (indicate Citizenship of Parties in Item [II) of Business In Another State
Citizen or Subject of a CL 3 | 3 Foreign Nation CL 6 | 6
Foreign Country
IV. NATURE OF SUIT (piace an “xv” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY y \625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine H 310 Airplane CL 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a)}
140 Negotiable Instrument Liability C] 367 Health Care’ 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical S 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
— 151 Medicare Act |_| 330 Federal Employers’ Product Liability 830 Patent P| 450 Commerce
152 Recovery of Defaulted Liability | 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application [| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
CL 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | 880 Defend Trade Secrets Hl 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 {15 USC 1681 or 1692)
[| 160 Stockholders* Suits - 355 Motor Vehicle | 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability | 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HLA (1395ff) 490 Cable/Sat TV
196 Franchise Injury C] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities‘Commodities’
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (403(g)) |__ Exchange
Medical Malpractice Leave Act 864 SSID Title XVI 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|_]790 Other Labor Litigation 865 RSI (405(2)) [] 891 Agricultural Acts

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

 

440 Other Civil Rights
441 Voting
442 Employment
443 Housing’
Accommodations
|| 445 Amer. w/Disabilities -
Employment
|_| 446 Amer, w/Disabilities -
Other
|_| 448 Education

 

Habeas Corpus:

463 Alien Detainee

$10 Motions to Vacate
Sentence

530 General

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

$55 Prison Condition

560 Civil Detainee -
Conditions of

rl
ql

 

Confi

 

|_|791 Employee Retirement

893 Environmental Matters

 

Income Security Act

IMMIGRATION
462 Naturalization Application
465 Other Immigration
Actions

 

 

 

 

FEDERAL TAX SUITS 895 Freedom of Information
870 Taxes (U.S. Plaintiff Act
or Defendant) [ 896 Arbitration
T | 871 IRS—Third Party 899 Administrative Procedure
26 USC 7609 Act'Review or Appeal of

Agency Decision
Hl 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X" in One Box Only)

E] 1 Original
Proceeding

Ci? Removed from
State Court

oO 3. Remanded from
Appellate Court

oO Reinstated or oO 5 Transferred from
Another District

(specify)

Reopened

Transfer

oO 6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

 

VI. CAUSE OF ACTION

28 U.S.C. 1332(a)(1)

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

 

 

Brief description of cause:
Insurance coverage action for breach of insurance contract

 

 

 

 

 

VII. REQUESTED IN L] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $5,000,000 + JURY DEMAND: [«lyes [INo
VIII. RELATED CASE(S)
(See instructions}:
IF ANY ents JUDGE nia DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
1-28-21 /s/ Rikke Dierssen-Morice
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING LFP JUDGE MAG. JUDGE

 
JS 44 Reverse (Rev. 10/20)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

L(a)

(b)

(c)

IL.

Til.

IV.

VI.

VIL.

VII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R-.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the US. is a party, the U.S. plaintiff or defendant code takes
precedence, and box | or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
statute.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

Requested in Complaint, Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
